Case 1:19-cv-00994-JB-JHR Document 87 Filed 09/09/20 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

KRISTINA MARTINEZ, in her Capacity
as the Personal Representative of the
Wrongful Death Estate of BARBARA
GRANGER, and SCOTT GRANGER,
individually,

Plaintiffs,

vs. Case No. 19-cv-00994-JB-JHR

DART TRANS, INC., GILBERT TAN
d/b/a GMT TRUCKING, SUNRISE TIRE
AND LUBE SERVICE, INC., SAM
SANDHU, JASVIR SINGH, SUKHDEV
SINGH DHALIWAL, JOHN DOE 1,
JOHN DOE 2, GOODWILL TRUCKING,
LLC, and GURPREET SUCH,

Defendants.
ORDER GRANTING
UNOPPOSED MOTION TO DISMISS SAM SANDHU AND JASVIR SINGH
Upon consideration of Plaintiffs’ Unopposed Motion to Dismiss Sam Sandhu and Jasvir
Singh [Doc. 74], it is hereby ORDERED that the motion be, and hereby is, GRANTED.
All claims against Defendants Sam Sandhu and Jasvir Singh are dismissed pursuant to

Federal Rule of Civil Procedure 41(a)(2).

 
 

UDATED STATES

   

 
Case 1:19-cv-00994-JB-JHR Document 87

SUBMITTED BY:

Filed 09/09/20 Page 2 of 2

PEIFER, HANSON, MULLINS & BAKER, P.A.

By: 4s/ Mark T. Baker
Mark T. Baker
Post Office Box 25245
Albuquerque, New Mexico 87125-5245
Tel: (505) 247-4800
Fax: (505) 243-6458
Email; mbaker@peiferlaw.com

Attorneys for Plaintiffs
APPROVED BY:
YLAW P.C,

By:_ Email approval on July 10, 2020
Joseph B. Wosick, Esq.

4908 Alameda Blvd NE

Albuquerque, NM 87113-1736

Tel: (505) 266-3995

Fax: (505) 268-6694

Email: jwosick@ylawfirm.com

Attorneys for Defendants Dart Trans, Inc.

and Gilbert Tan d/b/a GMT Trucking
CIVEROLO, GRALOW, & HILL

By:_Email approval on July 11, 2020
Lance Richards
Lauren R. Wilber

PO Box 887

Albuquerque, New Mexico 87103

Tel: (505) 842-8255

Fax: (505) 764-6099

Email: richards|@civerolo.com
wilberl@civerolo.com

LAWYERS505.,COM

By:_Lmail approval on July 10.2020
R. Don Lohbeck

510 Mountain Road NW

Albuquerque, NM 87102

Tel: (505) 888-5200

Email: Lohbeck@Lawyers505.com

Attorneys for Defendants Sam Sandhu
and Jasvir Singh

 
